       Case 1:15-cv-00211-LGS-SDA Document 774 Filed 09/25/20 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 SYNTEL STERLING BEST SHORES                                  :
 MAURITIUS LIMITED, et al.,                                   :
                                              Plaintiffs, :       15 Civ. 211 (LGS)
                                                              :
                              -against-                       :        ORDER
                                                              :
 THE TRIZETTO GROUP, et al.,                                  :
                                              Defendants. :
                                                              :
 ------------------------------------------------------------ X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the parties filed an amended final pretrial order (“FPTO”) at Dkt. No. 770.

The FPTO states that the parties are willing to work together to identify and describe recurring

issues in a subsequent joint letter, including identifying and describing categories of exhibits and

objections that may be addressed categorically at or before trial. It is hereby

        ORDERED that the parties shall file such joint letter as soon as possible and no later

than noon on October 1, 2020.



Dated: September 25, 2020
       New York, New York
